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     6
          Counsel for Movants,
      7   Medley Capital Corporation and Medley Opportunity Fund II LP

      8

      9                         UNITED STATES BAI\KRUPTCY COURT

     l0                          CT]NTRAL DISTRICT OF CALIFORNIA

     11
                                        LOS ANGELES DIVISION

     T2

          In re:                                        Case No. 2:17 -bk-22432-WB
     13
          POINT.360, a Califomia corporation,           Chaptcr   11
     t4   dba DVDs on the Run, Inc,
          dba Digital Film Labs                         SUPPLEMENTAL DECLARATION OF
     15                                                 PETER BURTON IN SUPPORT OF'
          dba Intérnational Video Conversions, Inc
          dba Modern VideoFilm                          MEDLEY CAPITAL CORPORÄTION
     l6   dba Movie Q                                   AND MEDLEY OPPORTUNITY FUND
          dba Visual Sound Closed Captioning            II LP'S MOTTON rOR ADEQUATE
     L7
          Services                                      PROTECTION OF ITS INTERESTS IN
          dba Eden FX                                   PROPERTY
     l8
                   Debtor                               Date: February 7,2018
     l9                                                 Time: 10:00 am
                                                        Place: Courtroom 1375; Judge Brand
    20                                                         Edward R. Roybal Fcdcral Building
                                                               255 E. Tcrnple Street, l3th Floor
    2l                                                         Los Angeles, CA 90012

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      1                     SUPPLEMENTAL DECLARATION OF PETER BURTON

     2           I, Peter Burton, declare as follows:

     3            l.    I am   a   Principal of Medley Capital Corporation ("MCC" and, together with Medley

     4    Opportunity Fund II LP ("MOF'), "Medley"). I have personal knowledge of the facts stated in

      5   this declaration, and could and would testi$ to these facts if called upon to do so.

     6           2.     This supplemental dcclaration is offered in (i) fi.rther support of Medley's motion

      7   for the entry of an order conditioning the use by the Debtorr of the Medley Collateral upon the

      8   grant of adequate protection to Medley pursuant to sections 361 and 363(e) of the Bankruptcy

      9   Code (ECF No. 79) (the "Motion"), (ii) reply to the Debtor's Prelirninary Opposition (ECF No.

     l0   93) to the Motion, the Debtor's Opposition to the Motion (ECF No. 103), and Austin Financial

     11   Services, Inc.'s Limited Opposition to the Motion (ECF No. 102), and          (iii) response to certain

     t2   issues raised during the    initial January 11, 2018 hearing on the Motion.

    13           3.      Attached hsreto as Exhibits A through I is a true and correct copy of the Medley

     t4   Loan File demonstrating that Medtey is a secured creditor. The Medley Loan File includes the

     15   following documents:

     l6                 a.   Term Loan Agreement, dated as of July 8, 2015, by and among Point.360,
                             MCC and MOF (Exhibit A hereto);
     l7
     l8                 b. Security Agreement,       dated as of July 8, 2015, by and among Point'360,
                             MCC and MOF (Exhibit B hereto);
     t9
                        c    Promissory Note, dated as of July 8, 2015, issued by Point.360 to MCC
    20
                             (Exhibit C hereto);
    2t
                        d.   Promissory Note, dated as of July 8, 2015, issued by Point.360 to MOF
    22                       (Exhibit D hereto);
    23
                        e,   Warrant to Purchase Shares of Common Stock of Point.360, dated as of
    24                       July 2015, by and between Point.360 and MCC (Exhibit E hereto);

    25                  f.   Warrant to Purchase Shares of Common Stock of Point.360, dated as of
                             July 2015, by and between Point,360 and MOF (Exhibit F hereto);
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          I Capitalizecl terms not dcfined herein shall have the meanings ascribed to them in the Motion.
                                                             I
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     I                 g.   Legal Opinion of TroyGould, dated as of July 8, 2015, delivered to MCC
                            (Exhibit G hereto);
     2

     J                 h.   Perfection Certificate of Point.360, dated as of July 8, 2015, delivered to
                            MCC and MOF (Exhibit H hereto); and
     4

     5
                       i.   UCC-l Financing Statements filed against Point.360 in favor of MCC       and
                            MOF, including the UCC filed by Medley against Point.360 on July 8,
     6                      2A15, the Closing Date (Exhibit I hereto).

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                4.     As set forth in the Medley Loan File, Medley is a secured creditor having duly

         perfected its fîrst priority security interest in the Medley Collateral by frling a UCC with the
     8

     9
         California Secretary of State on July 8, 2015.

                        I declare under penalty of perjury under the laws,of the United States of
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    11
         America that the foregoing is true and correct, Executed   thislflay   of January, 2018 in New

    t2   York, New York.

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    T4

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                                                                                       Burton
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